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8                          UNITED STATES DISTRICT COURT
9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                No. SA CR 18-046-JLS
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                Plaintiff,                    PRELIMINARY ORDER OF
12                                            FORFEITURE PURSUANT TO PLEA
                 v.                           AGREEMENT
13
     JOHNNY PAUL TOURINO,
14
                Defendant.
15
16
17         Upon consideration of the application of Plaintiff, United

18   States of America, for a preliminary order of forfeiture

19   pursuant to the plea agreement of, and guilty plea to Count One

20   of the Information entered into by, defendant JOHNNY PAUL

21   TOURINO and, good cause appearing thereon, IT IS HEREBY ORDERED:
22                           I. FORFEITABLE PROPERTY
23
24              For the reasons set out below, all right, title and

25   interest of JOHNNY PAUL TOURINO, (“defendant”) in the following

26   described property (hereinafter, the “Forfeitable Property”) is
27   hereby forfeited to the United States.         The Court finds that the
28   government has established the requisite nexus between the
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1          Forfeitable Property and the offenses described in the
2    Information.    (See Plea Agreement ¶ 3(b) (expressly referencing
3    the property set forth in (a) and (b), below).)          The Forfeitable
4    Property is more particularly described as:
5          a.   $999,859.19 seized by the Department of the Treasury on
6               or about February 7, 2018; and
7          b.   $1,125,000 seized by the Department of the Treasury on
8               or about March 22, 2018.
9                               II. IMPLEMENTATION
10         IT IS FURTHER ORDERED as follows:
11         A.   Upon the entry of this Order, and pursuant to Fed. R.
12   Crim. P. 32.2(b)(3) and 21 U.S.C. § 853, the United States
13   Attorney General (or a designee) is authorized to seize the
14   Forfeitable Property.
15         B.   Upon entry of this Order, the United States is further
16   authorized to conduct any discovery for the purpose of
17   identifying, locating, or disposing of the Forfeitable Property
18   subject to forfeiture pursuant to this Order, 21 U.S.C. § 853(m)
19   and Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure.
20   “Any discovery” shall include all methods of discovery permitted
21   under the Federal Rules of Civil Procedure.
22         C.   Upon entry of this Order (and at any time in the
23   future after amendment of the applicable order of forfeiture in
24   this matter), the United States Attorney General (or a designee)
25   is authorized to commence any applicable proceeding to comply
26   with statutes governing third party rights, including giving
27   notice of this and any other Order affecting specific property.
28   The following paragraphs shall apply to any ancillary proceeding

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1    conducted in this matter:
2               (1)   Pursuant to 21 U.S.C. § 853(n)(1) and
3    Supplemental Rule G(4)(a)(iv)(C) of the Supplemental Rules for
4    Admiralty or Maritime Claims and Asset Forfeiture Actions, the
5    government shall forthwith publish for at least thirty (30)
6    consecutive days on an official government website notice of
7    this order and any other Order affecting the Forfeitable
8    Property, and notice that any person, other than the defendant,
9    having or claiming a legal interest in the property must file a
10   petition with the Court within thirty (30) days of the
11   publication of notice or receipt of actual notice, whichever is
12   earlier.   The United States shall also, to the extent
13   practicable, provide written notice to any person known to have
14   an alleged interest in the Forfeitable Property.
15              (2)   Any person other than defendant asserting a legal
16   interest in the Forfeitable Property may, within thirty days of
17   the publication of notice or receipt of notice, whichever is
18   earlier, petition the court for a hearing without a jury to
19   adjudicate the validity of his alleged interest in the property,
20   and for an amendment of the order of forfeiture, pursuant to
21   21 U.S.C. § 853(n)(2).
22              (3)   Any petition filed by a third party asserting an
23   interest in the Forfeitable Property shall be signed by the
24   petitioner under penalty of perjury and shall set forth the
25   nature and extent of the petitioner’s right, title, or interest
26   in such property, the time and circumstances of the petitioner’s
27   acquisition of the right, title or interest in the property, any
28   additional facts supporting the petitioner’s claim, and the

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1    relief sought. 21 U.S.C. § 853(n)(3).
2               (4)   The United States shall have clear title to the
3    Forfeitable Property following the Court’s disposition of all
4    third-party interests or, if no petitions are filed, following
5    the expiration of the period provided in 21 U.S.C. § 853(n)(2)
6    for the filing of third-party petitions.
7          D.   Pursuant to Fed. R. Crim. P. 32.2(b)(3) and the
8    defendant’s plea agreement, this Preliminary Order of Forfeiture
9    shall be made part of the defendant’s sentence and included in
10   his judgment.
11         E.   The Court shall retain jurisdiction to enforce this
12   Order, and to amend it as necessary, pursuant to Fed. R. Crim.
13   P. 32.2(e).
14   DATED: October 11, 2023
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16                                _________________________________
                                       HON. JOSEPHINE L. STATON
17                                     UNITED STATES DISTRICT JUDGE
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